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                                                                                              15
                                                                                                                                 UNITED STATES DISTRICT COURT
                                                                                              16
                                                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                              17
                                                                                                   FACEBOOK, INC., et al.,                      Case No. 3:19-cv-07071-SI
                                                                                              18
                                                                                                                        Plaintiffs,             PLAINTIFFS’ OPPOSITION TO
                                                                                              19                                                DEFENDANT XIAMEN 35.COM
                                                                                                          v.                                    TECHNOLOGY CO., LTD.’S
                                                                                              20                                                ADMINISTRATIVE MOTION UNDER
                                                                                                   ONLINENIC INC., et al.,                      LOCAL RULE 7-11 FOR EVIDENTIARY
                                                                                              21                                                HEARING AND TO AUGMENT THE
                                                                                                                        Defendants.             RECORD FOR THE REPORT AND
                                                                                              22                                                RECOMMENDATION FOR
                                                                                                                                                TERMINATING SANCTIONS AGAINST
                                                                                              23                                                DEFENDANTS [D.E. 225]

                                                                                              24                                                Related Dkt. 229 Motion Hearing:

                                                                                              25                                                Date: June 17, 2022
                                                                                                                                                Time: 10:00 am
                                                                                              26                                                Courtroom: #1, 17th Fl.

                                                                                              27                                                Hon. Susan Illston

                                                                                              28
                                                                                                     PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                           MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
                                                                                                                                                                       CASE NO. 3:19-cv-07071-SI
                                                                                               1   I.       INTRODUCTION

                                                                                               2            The massive, prejudicial, and intentional destruction of relevant evidence by OnlineNIC Inc.

                                                                                               3   (“OnlineNIC”) and Domain ID Shield Service Co., Limited (“ID Shield”; collectively, “the OnlineNIC

                                                                                               4   Defendants”) forms the basis for the pending Report and Recommendation for terminating sanctions

                                                                                               5   against the OnlineNIC Defendants (“R&R”; Dkt. 225). And there is no dispute that employees of Xiamen
                                                                                                                                                                                                             1
                                                                                               6   35.com Internet Technology Co., Ltd. (“35.CN”) committed the acts of spoliation at issue in the R&R.

                                                                                               7   Having already moved for de novo determination of the R&R, 35.CN now raises extraneous and untimely2

                                                                                               8   arguments regarding the R&R based on purportedly newly-discovered factual disputes. (Motion For

                                                                                               9   Evidentiary Hearing (“Motion”; Dkt. 238).) But these arguments serve only to distract. They are not
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                                                                                              10   relevant to the resolution of the R&R and, in any event, are incorrect. 35.CN’s Motion should be denied.

                                                                                              11   II.      ARGUMENT
                                                                                                                                                                                  3
                                                                                              12            35.CN’s Motion is yet another improper attempt to inject misleading and irrelevant arguments

                                                                                              13   into 35.CN’s objections to the R&R in order to distract the Court from 35.CN’s employees’ destruction
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                                                                                              14   of evidence, while simultaneously obstructing and delaying 35.CN’s own discovery based on meritless

                                                                                              15   objections under Chinese law. (See Dkt. 236.) The Motion is based entirely on the argument—supported

                                                                                              16   largely through 35.CN’s counsel’s self-serving declaration—that Plaintiffs have not produced sufficient

                                                                                              17   evidence that ID Shield received adequate notice of harm to trigger liability under Registrar Accreditation

                                                                                              18   Agreement Section 3.7.7.3. (See Mot. 1:22–2:10 (mistakenly referring to Section 3.7.7.1).) This argument

                                                                                              19   is an irrelevant distraction for two separate reasons.

                                                                                              20
                                                                                                   1
                                                                                              21     Based on the OnlineNIC Defendants’ admissions to the Second Amended Complaint (“SAC”; Dkt. 109),
                                                                                                   35.CN’s employees perpetrated the spoliation because neither OnlineNIC Defendant has any employees
                                                                                              22   and all of their “day-to-day operations[,] . . . including all technical support” are performed by 35.CN
                                                                                                   employees. (SAC ¶¶ 31, 44–46, 50; Answer to SAC (Dkt. 88) ¶¶ 31, 44–46, 50 (admitting); Dkt. 108 at
                                                                                              23
                                                                                                   2:23–24 (ordering Dkt. 88 as the OnlineNIC Defendants’ operative responsive pleading to the SAC).)
                                                                                                   2
                                                                                              24     35.CN’s Motion is procedurally improper and untimely because it was not filed “[a]t the time” 35.CN
                                                                                                   filed its motion for de novo determination. See Civil L.R. 72-3(b). As discussed below, none of 35.CN’s
                                                                                              25   arguments are based on new information that justifies ignoring Civil L.R. 72-3.
                                                                                                   3
                                                                                              26     For example, 35.CN informs the Court that it issued a subpoena to Plaintiffs’ authorized representative,
                                                                                                   Appdetex, for certain documents, to which Appdetex objected and Plaintiffs filed a motion to quash. (Mot.
                                                                                              27   4:11–13; Kronenberger Decl. (Dkt. 238-1) ¶ 5.) 35.CN neglects to mention that it withdrew that subpoena
                                                                                                   contemporaneously with filing its Motion. (Decl. of Steven E. Lauridsen in Support of Opp. to 35.CN’s
                                                                                              28   Motion for Evidentiary Hr’g (“Lauridsen Decl.”) ¶ 3.)
                                                                                                                                                         1
                                                                                                        PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                              MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
                                                                                                                                                                          CASE NO. 3:19-cv-07071-SI
                                                                                               1           First, whether ID Shield received notice is not at issue in the R&R. 35.CN incorrectly asserts the

                                                                                               2   R&R relied on Plaintiffs providing notice to ID Shield for each Infringing Domain Name, including to
                                                                                                                                         4
                                                                                               3   determine damages. (Mot. 2:18–3:7.) But, in determining the amount of statutory damages, the R&R did

                                                                                               4   not consider whether notice was provided to ID Shield in any of the factors analyzed. (See R&R 24:1–

                                                                                               5   28:23.) Defendants understandably wish to avoid repercussions for their discovery misconduct, but

                                                                                               6   terminating sanctions were recommended and are proper based on Defendants’ intentional destruction of

                                                                                               7   relevant evidence and lengthy history of cybersquatting and litigation misconduct. (See Mar. 1, 2022, Hr’g

                                                                                               8   Tr. 18:14–19 (Dkt. 219) (during terminating sanctions hearing, the Court rejected one of 35.CN’s

                                                                                               9   irrelevant arguments because it did not “address the issues we have here, which is, if a defendant wants to
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                                                                                              10   fight these interesting legal questions and argue them, they have to play by the rules”); R&R 12:1–8

                                                                                              11   (noting “OnlineNIC is no stranger to litigation” and “has appeared before this Court three times since

                                                                                              12   2008”)); Verizon California Inc. v. Onlinenic, Inc., No. C 08-2832 JF (RS), 2009 WL 2706393, at *6

                                                                                              13   (N.D. Cal. Aug. 25, 2009) (noting OnlineNIC was guilty of numerous instances of sanctionable conduct).
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                                                                                              14           Second, whether ID Shield received notice relates to only one of Plaintiffs’ two independent

                                                                                              15   theories why ID Shield is liable. Regardless of whether ID Shield received notice—and is thus liable under

                                                                                              16   3.7.7.3—ID Shield is also independently liable under the Anti-Cybersquatting Consumer Protection Act

                                                                                              17   (“ACPA”), 15 U.S.C. § 1125(d), for registering the Infringing Domain Names because ID Shield is listed

                                                                                              18   in the WHOIS record as the registrant. In denying 35.CN’s Motion to Dismiss, the Court found that

                                                                                              19   Plaintiffs adequately pleaded that ID Shield is the registrant of the Infringing Domain Names; indeed,

                                                                                              20   ID Shield admits it is listed as the registrant for the Infringing Domain Names. (Order Denying 35.CN’s

                                                                                              21   Mot. to Dismiss SAC (Dkt. 207) at 9:9–26; see also Order Denying 35.CN’s Mot. to Bifurcate (Dkt. 226)

                                                                                              22   at 5:10–6:13 & n.5 (“35.CN acknowledges plaintiffs’ theory of direct liability based on ID Shield as the

                                                                                              23   registrant of the infringing domain names.”).)5 Ultimately, whether ID Shield received notice of harm or

                                                                                              24
                                                                                              25   4
                                                                                                     In addition to referencing Plaintiffs’ allegations regarding Section 3.7.7.3, the R&R also cites Plaintiffs’
                                                                                              26   allegation that ID Shield is listed as the registrant in the WHOIS directory for each Infringing Domain
                                                                                                   Name. (R&R 3:4–5.)
                                                                                                   5
                                                                                              27     35.CN claims, yet again, without any legal authority, and contrary to the findings of the Court and the
                                                                                                   R&R, that ID Shield did not register the Infringing Domain Names as the registrant even though it is listed
                                                                                              28   in the public WHOIS records as the registrant. (Mot. 2 n.1; see Order Denying Mot. to Bifurcate 6:5–13.)
                                                                                                                                                          2
                                                                                                       PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                             MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
                                                                                                                                                                         CASE NO. 3:19-cv-07071-SI
                                                                                               1   registered the Infringing Domain Names is not at issue in the R&R, and as such, 35.CN’s Motion raises
                                                                                                                                                                                                                 6
                                                                                               2   issues irrelevant to the R&R’s disposition. For either of these reasons, this Court should deny the Motion.

                                                                                               3           Beyond the fact that the Motion does not address the determinative issues in the R&R, the three

                                                                                               4   issues raised in the Motion do not warrant an evidentiary hearing. 35.CN raises purported factual disputes

                                                                                               5   regarding Plaintiffs’ distinct theory that ID Shield also is liable under Section 3.7.7.3 because ID Shield

                                                                                               6   failed to timely disclose to Plaintiffs the current contact information and identities of its customers after

                                                                                               7   being provided reasonable evidence of actionable harm. (See SAC ¶¶ 71–75 & Ex. 4.) Specifically, 35.CN

                                                                                               8   seeks an evidentiary hearing because: (1) 35.CN recently discovered that Appdetex “mistakenly” sent

                                                                                               9   notices to third parties instead of to ID Shield (Mot. 1:14, 3:16–4:4); (2) OnlineNIC (as opposed to
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                                                                                              10   ID Shield, to whom notice was provided) contacted Appdetex seeking confirmation that Appdetex was

                                                                                              11   authorized to act on behalf of Plaintiffs, but Appdetex never responded (Mot. 4:5–13); and (3) Plaintiffs

                                                                                              12   never provided ID Shield reasonable evidence of harm regarding ten of the Infringing Domain Names

                                                                                              13   added to the case after the original Complaint was filed (Mot. 4:14–20). 35.CN is wrong on each point.
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                                                                                              14           First, Plaintiffs do not rely on notice provided to third parties as a basis for ID Shield’s

                                                                                              15   liability under Section 3.7.7.3. Rather, liability attaches to ID Shield because Plaintiffs provided

                                                                                              16   ID Shield reasonable evidence of harm for the Infringing Domain Names, and ID Shield failed to timely

                                                                                              17   disclose the current contact information and identities of its customers, as explained below. While 35.CN

                                                                                              18   is correct that Appdetex provided notice to third parties, this was not by mistake. Notice was provided to

                                                                                              19   third parties in addition to ID Shield for certain Infringing Domain Names.7

                                                                                              20           Second, ID Shield cannot escape its agreement to accept liability for harm under Section

                                                                                              21   3.7.7.3 based on OnlineNIC’s purported responses seeking proof of authorization from Appdetex.

                                                                                              22   35.CN complains it was unable to obtain documents to determine whether Appdetex ever responded to

                                                                                              23   OnlineNIC’s verification requests. (See Mot. 4:7–13.) But whether OnlineNIC—the registrar—sought

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                                                                                              25
                                                                                                   6
                                                                                                     Moreover, prior resolution of the case on the merits is not a prerequisite to the Court entering terminating
                                                                                              26
                                                                                                   sanctions for discovery misconduct under Fed. R. Civ. P. 37.
                                                                                                   7
                                                                                              27     The notice to third parties was produced in response to the OnlineNIC Defendants’ request for all
                                                                                                   documents to or from Appdetex related to any of the Infringing Domain Names added to the case after the
                                                                                              28   original Complaint. (Lauridsen Decl. ¶ 4.)
                                                                                                                                                         3
                                                                                                       PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                             MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
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                                                                                               1   confirmation that Appdetex was authorized to act on behalf of Plaintiffs is irrelevant to ID Shield’s

                                                                                               2   liability. Plaintiffs’ Section 3.7.7.3 liability theory is based on the failure of ID Shield—the registrant—

                                                                                               3   to disclose the identities and contact information of its customers within seven days of Plaintiffs providing

                                                                                               4   notice of actionable harm. Furthermore, this issue regarding OnlineNIC’s purported responses is not a

                                                                                               5   newly-discovered factual dispute excusing 35.CN’s untimely request for an evidentiary hearing. 35.CN

                                                                                               6   has been aware of this issue for over six months, and Defendants have raised this exact issue repeatedly,
                                                                                                                                                                   8
                                                                                               7   including in 35.CN’s Motion for De Novo Review and Reply. Finally, 35.CN’s argument that OnlineNIC

                                                                                               8   never received verification that Appdetex was authorized to act on behalf of Plaintiffs is false. OnlineNIC
                                                                                                                                                                                                               9
                                                                                               9   previously received written confirmation that Appdetex was authorized to act on Plaintiffs’ behalf.
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                                                                                              10   (Lauridsen Decl. ¶ 5.) 35.CN cannot claim it does not have access to these authorizations, as its employees

                                                                                              11   perform all of the OnlineNIC Defendants’ day to day operations, including all technical support. See supra

                                                                                              12   note 1. And 35.CN’s acknowledgement that Appdetex sent thousands of similar notices to numerous
                                                                                                                                                              10
                                                                                              13   registrars (Mot. 2:14–17; Kronenberger Decl. ¶ 7 & Ex. D ) undermines 35.CN’s argument that Appdetex
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                                                                                              14
                                                                                              15   8
                                                                                                     (See OnlineNIC Defendants’ Opp. to Mot. to Strike Answer and for Default J. (Dkt. 202) at 7:16–8:22
                                                                                              16   (Nov. 23, 2021); Freeman Decl. Ex. A (Dkt. 202-1) (Nov. 23, 2021) (OnlineNIC’s purported response
                                                                                                   emails); 35.CN’s Mot. for De Novo Determination (Dkt. 228) at 2 n.2 (arguing “records indicate that
                                                                                              17   Facebook did not respond to replies to certain notices”) (Apr. 11, 2022); Kronenberger Decl. in Support
                                                                                                   of Mot. for De Novo Determination & Ex. A. (Dkt. 228-1) (arguing “OnlineNIC responded multiple times
                                                                                              18   to try to verify this unknown third party purportedly acting on behalf of Facebook, with no known response
                                                                                                   to confirm the legitimacy of the same” and attaching OnlineNIC’s purported response emails)
                                                                                              19
                                                                                                   (Apr. 11, 2022).) While 35.CN argues it only received reproductions of documents on April 12, 2022—a
                                                                                              20   day after it filed its Motion for De Novo Review (Mot. 3:16–4:4, 5:7–11)—this was well before it filed
                                                                                                   its Reply in Support of Motion for De Novo Review on May 2, 2022. (Dkt. 232.) In fact, 35.CN
                                                                                              21   specifically raised OnlineNIC’s purported response emails in its Reply (Dkt. 232-1 ¶ 2 & Ex. A (attaching
                                                                                                   purported response emails)) and suggested these documents were new to 35.CN, despite attaching the
                                                                                              22   same documents a month earlier in its Motion for De Novo Review (Dkt. 228-1 ¶ 3 & Ex. A).
                                                                                                   9
                                                                                              23     Had 35.CN properly met and conferred on this issue, it would have learned that on July 25, 2018—well
                                                                                                   before OnlineNIC’s purported requests for proof of authorization—Appdetex sent OnlineNIC a Letter of
                                                                                              24   Authority confirming Appdetex’s authorization to represent Facebook’s interests in protecting and
                                                                                                   enforcing Facebook’s intellectual property assets through January 9, 2023. This letter and the email
                                                                                              25   transmitting it to OnlineNIC were produced by the OnlineNIC Defendants in July 2020 as documents
                                                                                                   bearing Bates Nos. ONLINENIC 193608 to ONLINENIC 193610. (Lauridsen Decl. ¶ 5.)
                                                                                              26   10
                                                                                                      Kronenberger Decl. Exhibit D includes a letter from ICANN’s President and CEO to Appdetex’s
                                                                                              27   General Counsel acknowledging that (1) Appdetex had indicated registrars had only adequately responded
                                                                                                   to 3% of WHOIS requests, (2) Appdetex had requested that ICANN develop a uniform process for
                                                                                              28   registrars to respond to such requests, and (3) ICANN was in support of Appdetex’s efforts to work with
                                                                                                                                                         4
                                                                                                       PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                             MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
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                                                                                               1   was not commonly known to registrars like OnlineNIC as Plaintiffs’ authorized representative (see, e.g.,

                                                                                               2   Kronenberger Decl. Ex. D (Dkt. 238-1) at 27–28 (Ltr. from Blacknight Solutions acknowledging

                                                                                               3   Appdetex has legitimate interest in requesting WHOIS data on behalf of Facebook)).

                                                                                               4          Third, 35.CN’s argument that Plaintiffs did not adequately provide notice for all Infringing

                                                                                               5   Domain Names is incorrect, premature, and irrelevant to resolving the R&R. 35.CN’s Motion argues

                                                                                               6   no notice was provided for ten Infringing Domain Names. 35.CN is mistaken. (Lauridsen Decl. ¶ 6.)

                                                                                               7   Plaintiffs did provide notice for these ten Infringing Domain Names, in most cases through ID Shield’s

                                                                                               8   counsel (rather than having Appdetex send notice to ID Shield) because the parties were involved in

                                                                                               9   litigation and ID Shield was represented by counsel. (Lauridsen Decl. ¶ 6.) Had 35.CN conducted a meet
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                                                                                              10   and confer on this issue, waited for Plaintiffs’ forthcoming June 7 document production, or simply asked

                                                                                              11   ID Shield’s counsel, it would have learned that Plaintiffs provided notice to ID Shield’s counsel and that
                                                                                                                                                                       11
                                                                                              12   Defendants’ prior discovery requests never sought this information. Instead, 35.CN prematurely filed its

                                                                                              13   Motion, wasting the time and resources of Plaintiffs and this Court.
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                                                                                              14   III.   CONCLUSION

                                                                                              15          35.CN’s Motion should be denied. Whether Plaintiffs properly provided notice to ID Shield under

                                                                                              16   Section 3.7.7.3 is irrelevant to the pending R&R for terminating sanctions, and Plaintiffs are not required

                                                                                              17   to prove their case on the merits before the Court may issue terminating sanctions for spoliation of

                                                                                              18   evidence. 35.CN’s arguments regarding notice under Section 3.7.7.3 are also unrelated to ID Shield’s

                                                                                              19   direct liability under the ACPA. Furthermore, even if any of 35.CN’s premises were accurate, notice was

                                                                                              20   properly sent to ID Shield or its counsel for each of the Infringing Domain Names, and ID Shield failed

                                                                                              21   to timely respond with customers’ identity and contact information. 35.CN’s Motion should be denied.

                                                                                              22
                                                                                              23
                                                                                              24
                                                                                              25   registrars “to develop a common approach to the submission and handling of requests for non-public
                                                                                              26   registration data.” (Dkt. 238-1 at 25–26.)
                                                                                                   11
                                                                                                      Instead, Defendants’ prior discovery requests focused on notice provided by Appdetex for these
                                                                                              27   additional domain names. Because notice was provided by Plaintiffs’ counsel, and not Appdetex, this
                                                                                                   information was not previously produced to Defendants through formal discovery, but will be produced
                                                                                              28   on June 7 in response to 35.CN’s pending discovery requests. (Lauridsen Decl. ¶ 7.)
                                                                                                                                                     5
                                                                                                     PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                           MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
                                                                                                                                                                       CASE NO. 3:19-cv-07071-SI
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                                                                                                   DATED: May 31, 2022                           Tucker Ellis LLP
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                                                                                                                                                      FACEBOOK, INC.) and INSTAGRAM, LLC
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                                                                                                     PLAINTIFFS’ OPPOSITION TO DEFENDANT XIAMEN 35.COM TECHNOLOGY CO., LTD.’S ADMINISTRATIVE
                                                                                                           MOTION UNDER LOCAL RULE 7-11 FOR EVIDENTIARY HEARING AND TO AUGMENT THE RECORD
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